Case 1:23-cv-00108-LMB-JFA Document 630-22 Filed 05/16/24 Page 1 of 4 PageID# 12191




            (;+,%,720

           5('$&7('
   Case 1:23-cv-00108-LMB-JFA Document 630-22 Filed 05/16/24 Page 2 of 4 PageID# 12192




DIRECT DIAL: (202) 223-7466
EMAIL: JRHEE@PAULWEISS.COM




         May 16, 2024


         By Hand Delivery

         Walt Cain
         Executive Officer, Antitrust Division
         U.S. Department of Justice
         Liberty Square Building
         450 5th Street, NW, Suite 3000
         Washington, D.C. 20530

          Re: United States, et al. v. Google LLC, No. 1:23-cv-108 (E.D. Va.)

         Dear Mr. Cain:

         Our client, Google LLC (“Google”), is voluntarily tendering payment for the full amount of
         damages alleged by the United States in the above-referenced case.

         Enclosed is a cashier’s check from Wells Fargo bank in the amount of              . This payment
         includes             —the maximum amount of treble damages the United States could recover
         in this matter based on its own expert’s calculation—plus          —the amount of prejudgment
         interest calculated by the United States’ expert through June 30, 2024. See Lim Report 37, Fig.
         20 (attached).

         Please note that this voluntary tender of full monetary relief is not and should not be construed
         either as an admission that Google is liable in this action, or that the United States has suffered
         any damages. Google expressly denies liability for all claims asserted against it. Google makes
         this payment solely to moot the United States’ damages claim in order to streamline this
         litigation for efficient resolution of the remaining equitable claims.

                                                                       Sincerely,



                                                                       Jeannie S. Rhee
Case 1:23-cv-00108-LMB-JFA Document 630-22 Filed 05/16/24 Page 3 of 4 PageID# 12193


                                                                              2


   cc:   Julia Tarver Wood (by email)
         Aaron M. Teitelbaum (by email)
Case 1:23-cv-00108-LMB-JFA Document 630-22 Filed 05/16/24 Page 4 of 4 PageID# 12194
